                                                                              E-FILED
                                                Tuesday, 02 January, 2018 01:26:39 PM
                                                         Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

RALPH KAHL,                          )
                                     )
          Plaintiff,                 )
                                     )
     v.                              )
                                     )      Case No. 15-cv-03286
DR. ELI GOODMAN, et al.,             )
                                     )
          Defendants.                )

                              ORDER

SUE E. MYERSCOUGH, U.S. District Judge:

     This matter comes before the Court on the Report and

Recommendation of United States Magistrate Judge Tom Schanzle-

Haskins (d/e 61). Judge Schanzle-Haskins recommends that (1)

the Joint Motion to Substitute Parties be allowed; (2) Wexford

Health Sources, Inc., be substituted as Defendant in place of Dr. Eli

Goodman; and, (3) any claims against Dr. Eli Goodman be

dismissed with prejudice. The Report and Recommendation notes

that objections are due 14 days after service of the Report and

Recommendation, but the parties already agree to the

recommendations in that Report.

     IT IS THEREFORE ORDERED THAT:


                             Page 1 of 2 
       (1)   The Report and Recommendation (d/e 61) is

ADOPTED in its entirety.

       (2)   The Joint Motion to Substitute Parties is allowed (d/e

59).

       (3)   All claims against Dr. Eli Goodman are dismissed with

prejudice.

       (4)   Wexford Health Sources, Inc., is substituted as

Defendant in place of Dr. Eli Goodman. The clerk is directed to

note the substitution on the docket, terminating Dr. Goodman.


       ENTER: January 2, 2018.


                                 /s/ Sue E. Myerscough
                                 SUE E. MYERSCOUGH
                                 UNITED STATES DISTRICT JUDGE




                              Page 2 of 2 
